Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 1 of 18




         EXHIBIT A
         Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 2 of 18
                                                                                    8/18/2015 4:42:47 PM
                                                                                                       Velva L. Price
                                                                                                       District Clerk
                                                   D-1-GN-15-003371                                     Travis County
                                       CAUSE NO.                                                     D-1-GN-15-001101
                                                                                                         Ruben Tamez
CUSTOPHARM, INC.                                   §                      IN THE DISTRICT COURT
     Plaintiff,                                    §
                                                   §
v,                                                 §
                                                   §                      TRAVIS COUNTY, TEXAS
CHEMWERTH, INC.,
AND JOHN DOES 1-5                                  ^                98TH
     Defendants.                                   §                             JUDICIAL DISTRICT

                        PLAINTIFF'S VERIFIED ORIGINAL PETITION
                             AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Plaintiff Custopharm, Inc. ("Custopharm"). through its undersigned

counsel of record, and hereby files Plaintiffs Verified Original Petition and Request for Disclosure

complaining of Defendant ChemWerth, Inc. ("ChemWerth"), and for cause of action would

respectfully show the Court as follows:


                                  I.    NATURE OF THE ACTION

        1.        This lawsuit asserts claims for declaratory relief and breach of contract arising out of

a Service Agreement (the "Agreement") by and between Plaintiff and Defendants, and/or any of

them. Plaintiff performed its duties under the Agreement and Defendants, and/or any of them,

failed to turn over all amounts due under the Agreement for sales without deduction or offset and

failed to provide financial reports in breach of die Agreement.

                            II.        DISCOVERY CONTROL PLAN

       2.         Pursuant to Rule 190.3 of the Texas Rules of Civil Procedure, Discovery is intended

to be conducted under Level 2.

                                          III.   PARTIES

       3.         Plaintiff Custopharm, Inc. is a Texas corporation organized under the laws of the

State of Texas.
                     Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 3 of 18




                    4.                  Defendant ChemWerth, Inc. is a Connecticut corporation with its principal place of

business located at 1764 Litchfield Turnpike, Ste. 202, Woodbridge, CT 06525. Peter J. Wcrth, Jr. is

the Registered Agent of ChemWerth, and he can be served at 794 Robert Treat Dr., Orange, CT

06447.

                   5.                  Plaintiff has diligently and in good faith attempted to ascertain the names and

identities of possible additional defendants, whose identities are presently unknown to Plaintiff.

Such attempts included contacting presently known witnesses and contacting the Connecticut

Secretary of State through its website. Despite the foregoing efforts, the identities of other

defendants whose conduct may have been a legal cause of Plaintiff s complaints and/or damages

currendy remain unknown to Plaintiff. John Does 1-5 could be corporations, partnerships, limited

liability companies, non-profit organizations or individuals.

                   6.                  Plaintiff alleges, upon information and belief, that, directly or indirecdy, the conduct

of the John Doe defendants was or may have been a legal cause of the matters complained of

herein, and/or the damage or loss thereby sustained by Plaintiff as a result of which aE defendants,

identified and unidentified, may be legaEy, joindy and severaEy Eable to Plaintiff for damages and

losses sustained, inasmuch as the conduct of each defendant may have coincided with and/or

concurred with that of each and every other defendant named and unnamed.

                                                                                      IV.                TURISDICTION

                   7.                  Plaintiff seeks damages and relief under the common law and statutory laws of the

State of Texas, and die amount in controversy is within the subject matter and monetary jurisdiction

of the District Court of Travis County, Texas. This Court has subject matter jurisdiction pursuant to

Tex. Const. Art. 5, §8 and Tex. Gov't Code §§24.007 & 24.008.

                  8.                  Section Vll, Item 1, Applicable Law, of the Agreement contains a "choice of law" or

"governing law" provision and the Parties agreed that Texas law will be used to govern and interpret

the Agreement as foEows: "This Agreement is made under and wiE be governed by and construed in



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              Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 4 of 18




accordance with the laws of the State of Texas."

                                                    V.     VENUE

         9.        Venue is proper in Travis County District Court pursuant to Tex. Civ. Prac. & Rem.

Code §§15.002(a)(l), (4) & 15.005.

         10.       Section VII, Item 1, Applicable Law, of the Agreement contains a "forum selection"

provision and the Parties agreed that the exclusive venue for all disputes relating to the Agreement

shall be Austin, Texas as follows: "Exclusive venue for all disputes arising out of or relating to this

Agreement shall be the State and Federal Courts in Austin, Texas, and each Party irrevocably

consents to such personal jurisdiction and venue and waives all objections thereto."

                                    VI.      CONDITION PRECEDENT

         11.      Plaintiff would show that all conditions precedent have been performed or have

been waived.

                                    VII.      FACTUAL BACKGROUND

         12.      The facts in this petition and application are verified by Plaintiffs verification, which

is attached hereto and incorporated herein for all purposes.

         13.      This dispute arose out of ChemWerth's unilateral breach of contract of the Parties'

Agreement by failing to turn over to Custopharm aE amounts due under the Agreement for sales

without deduction or offset and failing to provide financial reports according to the terms and

conditions of the Agreement.

         14.      Custopharm and ChemWerth entered into the Agreement effective March 26, 2007.

         15.      In furtherance of the Agreement, Custopharm performed pharmaceutical product

development services for ChemWerth.

         16.      ChemWerth provided products developed by Custopharm to its customers for

compensation paid by the customer to ChemWerth.

         17.      According to the terms of the Agreement, ChemWerth turns over to Custopharm its



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Page .3 of 14
              Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 5 of 18




 share of revenues from such products each quarterly reporting period.

           18.       ChemWerth was Custopharm's fiduciary arising as the result of the nature of the

 Agreement whereby Custopharm substantially trusts ChemWerth to account for all product sales,

 financial reports, compensation and turn over Custopharm's share to Custopharm.

          19.        ChemWerth holds a "superiority of position" over Custopharm, which may be

demonstrated in material aspects of the breach at issue by a substitution of ChemWerth's will.

          20.       Section III, Item 4, Compensation, of the Agreement states "ChemWerth shall remit

said amount [twenty-five (25%) percent or fifty (50%) depending on the product delivered], or a

statement verifying that no amount is due, to Custopharm within thirty (30) days after March 31,

June 30, September 30, and December 31, beginning after the Effective Date for payments received

by ChemWerth in the previous quarter. Custopharm shall be entided to compensation as set forth

so long as Product sales occur, regardless of whether or not the Agreement is in effect."

          21.       ChemWerth missed no less than five (5) payment and reporting periods in violation

of Section HI, Item 4, Compensation, of the Agreement, including but not limited to, June 30, 2014,

September 30, 2014, December 31, 2014, March 31, 2015 and June 30, 2015.

          22.       Section III, Item 5, Financial Reports, of the Agreement states "within thirty (30)

days after March 31, June 30, September 30, and December 31, beginning after the first Product

approval, ChemWerth must deliver to Custopharm a true and accurate written report, even if no

payments are due Custopharm, giving the particulars of the business conducted by ChemWerth and

its Customer(s), if any, during the preceding three (3) calendar months under the Agreement as are

pertinent to calculating Custopharm compensation hereunder. Simultaneously with the delivery of

each report, ChemWerth must pay to Custopharm the amount, if any, due for die period of each

report and not previously paid pursuant to paragraph 4, above, of this Section III. The report will

include at least: a.) the identity of each Customer; b.) the identity of each Product; c.) the quantities

of Product sales that the Customer reports to ChemWerth; d.) the total payments for each Product



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Page 4 of 14
             Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 6 of 18




to ChemWerth; e.) the calculation of compensation thereon; and £) the total compensation

computed and due Custopharm."

        23.      ChemWerth has violated Section III, Item 5, Financial Reports, of the Agreement

by failing to provide financial reports to Custopharm for no less than five (5) reporting periods,

including but not limited to, June 30, 2014, September 30, 2014, December 31, 2014, March 31,

2015 and June 30, 2015.

        24.     ChemWerth's action and failure to give a full account of financial reports to Plaintiff

constituted a breach of the fiduciary relationship between them.

        25.     Section III, Item 7, Form of Payment, of the Agreement states "all amounts payable

here by ChemWerth must be paid in United States funds without deductions for taxes, assessments,

fees, or charges of any kind."

        26.     Section V, Item 3, Default or Breach, of the Agreement states "In the event that

either party shall be in default of its material obligations under the Agreement and shall fail to

remedy such default within thirty (30) days after the receipt of written notice thereof, this

Agreement may be terminated upon the expiration of the thirty (30) day period by the party not in

default."

       27.      Custopharm provided ChemWerth written notice of breach on June 25, 2015 and

July 15, 2015 as per Section V, Item 3, Default or Breach, of the Agreement.

       28.      Assuming arguendo, ChemWerth alleges Custopharm had previously breached the

Agreement, ChemWerth failed to provide any written notice of breach to Custopharm as per

Section V, Item 3, Default or Breach, of the Agreement.

       29.      Neither Party has terminated the Agreement.

       30.      Assuming arguendo, even if the Agreement was terminated, compensation is still

owed to Custopharm as per Section V, Item 2, Termination, of the Agreement.

       31.      Section V, Item 2, Termination, of the Agreement states "with respect to Product
               Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 7 of 18




sales which occur after termination of the Agreement, and for which compensation is owed to

Custopharm, such compensadon shall continue to be owed to Custopharm for so long as sales

occur, and the obligation to turn over such compensation to Custopharm for sales that occur after

termination shall survive termination of this Agreement for any reason pursuant to Paragraph 4,

below, of this Article V."

         32.      Section YII, Item 1, Applicable Law, of the Agreement states "this Agreement is

made under and will be governed by and construed in accordance with the laws of the State of

Texas. Exclusive venue for all disputes arising out of or relating to this Agreement shall be the State

and Federal Courts in Austin, Texas, and each Party irrevocably consents to such personal

jurisdiction and venue and waives all objections thereto."

         33.      Section VII, Item 6, Attorney's Fees, of the Agreement states "in the event that any

suit or action is instituted to enforce any provision in the Agreement, the prevailing party shall be

entitled to all costs and expenses of maintaining such suit or action, including reasonable attorneys'

fees."

         34.      As a result of the foregoing, and ChemWerth's failure to perform its obligations

under the Agreement, Custopharm has suffered harm.

                  VIII.     DECLARATORY ACTION AGAINST CHEMWERTH

         35.      Plaintiff incorporates paragraphs 1 through 34 of Plaintiff's Verified Original

Petition as if set forth fully herein.

         36.      A bona fide dispute exists between Plaintiff and Defendants regarding the validity

and enforceability of the compensation and financial reporting sections of the Agreement.

         37.      Plaintiff has a legal interest in the controversy, in that (among other things) its rights

and duties under the Agreement relate to financial consequences that require adjudication.

         38.      The disputes alleged herein are ripe for adjudication.

         39.      Based on the foregoing facts, Plaintiff seeks a declaratory judgment from this Court
             Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 8 of 18




pursuant to Texas Uniform Declaratory Judgment Act, Tex. Civ. Prac. & Rem. Code §37.001 et seq.,

declaring:

                        (a) In furtherance of the Agreement, Custopharm performed services for

                            ChemWerth;

                       (b) The compensation, financial reporting and form of payment sections of the

                            Agreement are valid and enforceable;

                       (c) Defendants had and have no legal right to deprive Custopharm of its

                            compensation or financial reports according to the terms of the Agreement;

                       (d) Defendants had and have no legal right to deduct or offset Custopharm's

                            compensation according to the terms of the Agreement; and

                       (e) Custopharm is fully entitled to said compensation and financial      reports

                            according to the terms of the Agreement.

                                      IX.      BREACH OF CONTRACT

         40.      Plaintiff incorporates paragraphs 1 through 39 of Plaintiffs Verified Original

Petition as if set forth fully herein.

         41.      The Agreement is an enforceable contract, binding both Parties.

         42.      Plaintiff has performed or tendered performance according to the terms of the

Agreement.

         43.      Defendants have materially breached the Agreement as described above by failing to

turn over to Plaintiff its share of revenues according to the terms of the Agreement.

         44.      Defendants have further materially breached the Agreement as described above by

failing to provide financial reports to Plaintiff according to the terms of the Agreement.

         45.      Defendants have violated its obligations under the Agreement.

         46.      Defendants' failure to adequately perform their obligations under the Agreement is a

material breach thereof.



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Page 7 of 14
                 Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 9 of 18




               47.   Defendants' breaches of the Agreement have direcdy and proximately resulted in

 damages to Plaintiff.

               48.    Plaintiff has been damaged by Defendants' breach of the Agreement and claims all

damages.

           49.       By reason of the foregoing, Plaintiff has been damaged in an amount within the

 jurisdictional limits of the Court to be determined at trial, but at least $921,563 and in such further

amounts as may be proven at trial.

                                          X.      ACTION FOR ACCOUNTING

           50.       Plaintiff incorporates paragraphs 1 through 49 of Plaintiffs Verified Original

Petition as if set forth fully herein.

           51.       Because financial reports have not been provided by ChemWerth as required by the

Agreement, Custopharm is entided to an accounting from ChemWerth for no less than five (5)

reporting periods, including but not limited to, June 30, 2014, September 30, 2014, December 31,

2014, March 31, 2015 and June 30, 2015.

                                            XI.       CONSTRUCTIVE TRUST
           52.       Plaintiff incorporates paragraphs 1 through 51 of Plaintiffs Verified Original

Petition as if set forth fully herein.

           53.       A constructive trust is a legal fiction, a creation of equity to prevent a wrongdoer

from profiting from wrongful acts.

           54.       Such trusts are remedial in character and have the broad function of redressing

wrong or unjust emichment in keeping with basic principles of equity and justice.

           55.       A constructive trust is a relationship with respect to property, subjecting the person

or entity by whom the title to the property is held to an equitable duty to convey it to another on the

ground that its acquisition or retention of the property is wrongful and that it would be unjusdy

enriched if it were permitted to retain the property.



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Page 8 of 14
            Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 10 of 18




          56.       The Defendant, ChemWerth, breached its fiduciary relationship and duties and

further engaged in actual fraud.

          57.       Defendant, ChemWerth, would be unjustly enriched if the funds collected from

customers intended for Custopharm remain in its legal title or in the legal title of other legal entities

and not Custopharm.

          58.       Plaintiff asserts it can reasonably trace the properties, legal assets and money to an

identifiable res after the appropriate discovery available under the Texas Rules of Civil Procedure.

          59.       Plaintiff seeks equitable relief by creating a constmctive trust in favor of the Plaintiff

on the following property: All amounts due Custopharm under the Agreement for sales without

deduction or offset of Custopharm's compensation of two hundred twenty-five thousand one

hundred seventy-five ($225,175.00) dollars, or such other number, that represents Custopharm's

share each quarter for no less than five (5) reporting periods, including but not limited to, June 30,

2014, September 30, 2014, December 31, 2014, March 31, 2015 and June 30, 2015 according to

Section III, Item 4, Compensation, and Item 7, Form of Payment, of the Agreement, and

Custopharm's future share for each quarter throughout the pendency of litigation according to

Section III, Item 4, Compensation, and Item 7, Form of Payment, of the Agreement.

          60.      Plaintiff requests that this Court impose for Custopharm's benefit a constmctive

trust over Custopharm's compensation according to Section III, Item 4, Compensation, and Item 7,

Form of Payment, of the Agreement, together with all earnings and other value received by

ChemWerth by virtue of its use of the property.

                                             XII.       ATTORNEYS' FEES

          61.      It has been necessary for Plaintiff to employ the undersigned attorneys to represent

the Plaintiff in this matter. Plaintiff is entitled, under Texas Civil Practice and Remedies Code

Section 38.001, et seq., to recover from Defendants reasonable and necessary attorneys' fees as

Plaintiffs claims are based upon a written contract.



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Page 9 of 14
            Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 11 of 18




                                    XIII.       REQUEST FOR DISCLOSURE

          62.       Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendants

disclose, within 50 days of the service of this request, the information or materials described in

Texas Rule of Civil Procedure 194.2.

                                              PRAYER FOR RELIEF

          63.       WHEREFORE, Plaintiff correspondingly prays as follows:

                    (a) Defendants be served with process and cited to appear and answer herein;

                    (b) Declaratory Judgment as requested in paragraph 39 that Custopharm performed

                        according to the terms of the Agreement, cannot be deprived of its

                        compensation and financial               reports, ChemWerth cannot make unilateral

                        deductions or offsets to Custopharm's compensation and/or ChemWerth's

                        failure to compensate and provide financial reports to Custopharm was wrongful

                        and in breach of the Agreement;

                   (c) An accounting from ChemWerth for no less than five (5) reporting periods,

                        including but not limited to, June 30, 2014, September 30, 2014, December 31,

                        2014, March 31, 2015 and June 30, 2015;

                   (d) Imposition of a constructive trust over Custopharm's compensation and

                        ordering ChemWerth to immediately deposit two hundred twenty-five thousand

                        one hundred seventy-five ($225,175.00) dollars, or such other number, into the

                        constructive trust that represents Custopharm's share each quarter for no less

                        than five (5) reporting periods, including but not limited to, June 30, 2014,

                        September 30, 2014, December 31, 2014, March 31, 2015 and June 30, 2015

                        according to Section III, Item 4, Compensation, and Item 7, Form of Payment,

                        of the Agreement, and ordering ChemWerth to deposit Custopharm's future

                        share for each quarter throughout the pendency of litigation into the constructive



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Page 10 of 14
Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 12 of 18




        trust according to Section III, Item 4, Compensation, and Item 7, Form of

        Payment, of the Agreement;

    (e) Judgment against Defendants for actual damages in a sum within the

        jurisdictional limits of the Court in excess of $921,563;

    (f) Judgment against the Defendants for consequential damages resulting from the

       above items;

    (g) An award of exemplary damages against Defendants in a sum determined by the

        trier of fact for Defendants' intentional conduct;

    (li) Prejudgment and post judgment interest at the maximum rate provided by law;

    (i) Award Plaintiff reasonable and necessary attorneys' fees and costs of court, as

       provided by Tex. Civ. Prac. & Rem. §37.009; and

    (j) All other relief, in law or in equity, to which Plaintiff may be entitled, or which

       the Court deems just and proper.

                                   Respectfully submitted,

                                   MOSTER WYNNE & RESSLER, P.C.

                                   By: /s/ Lance Hevizy
                                   Filed 'Electronically

                                   Lance Hevizy
                                   State Bar No. 24032418
                                   lance@.mwrlegal.com
                                   Jack Reid
                                   Texas Bar No. 24047706
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                                   slttomeys for Plaintiff
                                   Custopham, Inc.
                Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 13 of 18



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(619) 233-3730 Facsimile
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PLAINTIFF'S VERIFIED ORIGINAL P&nTtON AND REQUEST FOR DISCLOSURE
Page 12 of 14
       Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 14 of 18




                                                 VERIFICATION

 STATE OF CALIFORNIA                                    §
                                                        §
 COUNTY OF SAW Pi££0                                    §

          I, the undersigned, certify and declare that I have read the foregoing Plaintiffs Verified

 Original Petition and Request for Disclosure, and know its contents. I am [        ] an officer [   ]a

 partner f ] President of Custopharm, Inc., the Plaintiff in the above-entitled and numbered cause,

 and I am authorized to make this verification for and on its behalf, and I make this verification for

 that reason. I am informed and believe and on that ground allege that the matters stated in the

document described above are within my personal knowledge and are true and correct.




                                                             iVlUL/Am   Z/Kkr/N^-
                                               Printed Name


                                               Title




                                     \Califomia Acknowledgment Page Follows]




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Page 13 oh" 14
             Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 15 of 18




                                                          ACKNOWLEDGMENT


       A notary public or other officer completing this
       certificate verifies only the identity of the individual
       who signed the document to which this certificate is
       attached, and not the truthfulness, accuracy, or
       validity of that document.
   State of California
                 fornia
   County of      ^                          £6.                              J

   On       Am-          n Sol's                             before me,               15
                                                                                        (insert
                                                                                             rt name and title^df the offic
                                                                                                                      officer)

   personally appeared           M litem CtWles L&rfaii-c
   who proved to me on the basis of satisfactory evidence to be the person(6) whose name(6> is/arfc.
   subscribed to the within instrument and acknowledged to me that he/sheAteey executed the same in
   his/herftH&ir authorized capacity(iee), and that by his/herfttfeir signature^ on the instrument the
   person(sfj or the entity upon behalf of which the person^ acted, executed the instrument.

  I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
  paragraph is true and correct
                                                                                                                              OFFICIAL SEAL
                                                                                                                       DOUGLAS DESJARDINS 1
                                                                                                                                          ^
  WITNESS my hand and official seal.                                                                                  NOTARY PUBLIC-CALIFORNIA§3
                                                                                                                         COMM. NO. 1966743    2
                                                                                                                         SAN DIEGO COUNTY      a
                                                                                                                      MYCOMM.EXPL JAN. 15,^J

  Signature.                                                         LO-               (Seal)




PLAINTU?FS V U U I l - n - D ORKJINAJ.PITITnON, APPLICATION FOR INJL'Nf.TIVI- RHI.II'F ANI3 R F . q i ' k S T FOP. DISCI^ S U R I v
Fagr 14 of 14
                        Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 16 of 18
                                           CIVIL CASE INFORMATION SHEET
         CAUSE NUMBER (FOR CLERK USE ONLY):                                                                COURT (FOR CLERK USE ONLY):

                        STYLED PRAETORIAN GROUP INC. V. REISMART. LLC DBA INVESTABILITY. AND JOHN DOES 1-5
                                    (e.g., John Smith v. All American Insurance Co; In re Maty Ann Jones; In the Matter of the Estate of George Jackson)

A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
I. Contact information for person completing case information sheet:                 Names of parties in case:                            Person or entity completing sheet is:
                                                                                                                                        ^Attorney for PlaintiflTPetitioner
Name:                                    Email:                                       PlaintiflIs)/Petitioner(s):                       riPro Se PlaintifPPetitioner
Lance Hevizv                             lance@mwrlegal.com
                                                                                      Custooharm. Inc.
                                                                                                                                        Dr. tie IV-D Agency
                                                                                                                                        QOther:
Address:                                 Telephone:
620 Congress Ave.. Ste. 320              (512) 320-0601
                                                                                                                                        Additional Parties in Child Support Case:
City/State/Zip:                          Fax:                                         Defendant(s)/Respondent(s):
                                                                                                                                        Custodial Parent:
Austin. Texas                            (512)320-0695
                                                                                     Chemworth. Inc..
                                                                                                                                        Non-Custodial Parent:
Signature:                               State Bar No:                               And John Does 1-5
                                         24032418
                                                                                                                                        Presumed Father:
/s/ Lance Hevizv


2. Indicate case type, or identify the most important issue in the case (select only I):
                                                 Civil                                                                                       Family Law
                                                                                                                                                           Post-judgment Actions
             Contract                     Injury or Damage                          Real Property                   Marriage Relationship                     (non-Title IV-D)
Debt/Contract                       HAssault/Battery                        •Eminent Domain/                        l""iAnn'iilmcm                    TlF.nforcement
   Heonsu mer- DTPA                 Fir onstmction                            Condemnation                          ODeclare Marriage Void            0Modification—Custody
   f*|Debt/Contract                 nDefamation                             •Partition                              Divorce                           BModification—Other
   [IjFraud/Misrepresentation       Malpractice                             •Quiet Title                              Qwith Children                            Title IV-D
   CxHother Debt/Contract:           OAccounting                            •Trespass to Try Title                    DNo Children                   •Enforcement/Modification
      BREACH OF                      ClLegal                                •Other Property:                                                         •Paternity
   CONTRACT                           rivTedical                                                                                                     •Reciprocals (UIFSA)
Foreclosure                            nptber Professional                                                                                           •Support Order
   ril lome Equity—Expedited             Liability:
   npther Foreclosure                                                           Related to Criminal
                                        lotor Vehicle Accident
•l-ranchise                                                                           Matters                          Other Family Law                Parent-Child Relationship
                                        remises
•insurance                          Product Liability                       n xpunction                             •Enforce Foreign                  flAdoption/Adoption  with
•Landlord/Tenant                                                             •judgment Nisi                           Judgment                           Termination
                                      •Asbestos/Silica
•Non-Competition                      •other Product Liability
                                                                             •-Non-Disclosure                       •Habeas Corpus                    •Child Protection
•Partnership                             List Product:                       •Sei/ure/Forfeiture                    •Name Change                      •Child Support
•Oilier Contract:                                                            •writ of Habeas Corpus-                •Protective Order                 •Custody or Visitation
                                          er Injury or Damage:                  Pre-indictment                      •Removal of Disabihties           •Gestational Parenting
                                                                            •other:                                   of Minority                     QGrandparent Access
                                                                                                                    •other:                           QPatemity/Parentage
         Employment                                               Other Civil                                                                         Qpennination of Parental
Qoi senmmatton                       •Administrative Appeal                 •Lawyer Discipline                                                           Rights
•Retaliation                         •Antitrust/Unfair                      •Perpetuate Testimony                                                     QOther Parent-Child;
•Termination                            Competition                         FlSecuri ties/Stock
I"!Workers' Compensation             •Code Violations                       •Tortious Interference
•Other Employment:                   •foreign Judgment                      I [Other:
                                     •intellectual Property

               Tax                                                                           Probate & Mental Health
 CfTax Appraisal                     ProbatefWills/Intestate Administration                                 •Guardianship—Adult
 QTax Delinquency                      •Dependent Administration                                            •Guardianship—Minor
       • Tax                           •independent Administration                                          •Mental Health
                                       •Other Estate Proceedings                                            •Other:


3. Indicate procedure or remedy, if applicable (may select more than I):
 1 1Appeal from Municipal or Justice Court                  •Declaratory Judgment                                             •Prejudgment Remedy
 1,, (Arbitration-related                                   I jGamishment                                                     •Protective Order
 •Attachment                                                1, (Interpleader                                                  •Receiver
 L.iBill of Review                                          1...Jlicense                                                      •Sequestration
 •Certiorari                                                •Mandamus                                                         l...jTemporarv Restraining Order/Iniunction
 •Class Action                                              •Post-judgment                                                    •Turnover
4. Indicate damages sought fdo no select if it is a family law case):
 l""tl.ess than SSIOO.OOO. including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attomeys fees
 •hess than $100,000 and non-monetary relief
 •Over $100,000 but not more than $200,000
 riOver $200,000 but not more than $1,000,000
 •Over $1,000,000
                  Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 17 of 18
                   SUPPLEMENTARY PROBATE CASE INFORMATION SHEET
                   TRAVIS COUNTY PROBATE COURT NO. 1

                    CAUSE NO. C-L-PB-                          -
This sheet is a supplement to the Civil Case Information Sheet required by Texas Rule of Civil Procedure 78a.
Both the Civil Case Information Sheet and this supplementary sheet should be completed whenever an
original petition or application is filed in this Court. Except for the case style, there's no duplication between the
two sheets. If you are e-fillng the original petition or application, an information sheet cannot be the lead document.
The information should be the best available at the time of filing, understanding that the information may change before trial. This
information does not constitute a discovery request, response, or supplementation, and is not admissible at trial.

1. Case stvle. Please indicate the correct case style. For example. "Estate of Decedent's name." "Guardianshio of the Person and Estate of
    Proposed Ward's name," or "Plaintiff(s) v. Defendant(s)." If "Plaintiff v. Defendant," list a!L parties; attach additional page as necessary
    (an estate or guardianship cannot be a party; it's the executor, administrator, or guardian who has the capacity to sue or be sued).



2. Related case(s). Has this                  Q No
   case been previously filed,                n YeSi in thjs court    Cause No

   or is it related to a case                    (•.new case is guardianship after 1102; will be same cause number)
   previously filed in this court                (•-new case is guardianship after chapter 48; new cause number&new style)
   or in another court?                      • Yes, in another court:

                                                  Court:             Cause No.
                                              Attach page(s) as needed. If you are attaching page(s) with information about additional related
                                              cases, check here: •

3. Indicate case type (check only one):
     Independent Administration                        All Other Estate Proceedings                    Ancillary Cases (new cause #)
• Probate Letters Testamentary                    • Probate Muniment of Title (PMU + 3021)         • Ancillary action related to an Independent
  (independent) (PBL + 3020)                       D Muniment of Title more than 4 years             Administration (includes court-ordered
• Indep. Admin., Will Annexed (PAI + 3030)                 after date of death (PMU + 3021)          severance) (PIA + 3115)
                                                  • Heirship / No Administration (PHE + 3033)      • Ancillary action related to a Dependent
• Indep. Admin, with Heirship (PAH + 3032)
                                                  • Small Estate Affidavit (PSM + 3040)              Administration (includes court-ordered
D Foreign Will Letters (independent) (PWL +                                                          severance) (PDA+ 3116)
    3102)                                         • Foreign Will Recording only (PWR + 3044)
                                                                                                   • Ancillary action related to Guardianship of
      Dependent Administration                    • 252 Will Deposit or Application to Produce
                                                                                                     an Adult (includes court-ordered
                                                    Will (PWD + 3041)
• Dependent Administration (aH dependent                                                             severance) (PAA + 3117)
  administrations: executor, will annexed,        • 151 Application to Open Safety Deposit
                                                                                                   • Ancillary action related to Guardianship of
  with heirship, or with heirship to follow)        Box (PDB + 3103)
                                                                                                     a Minor (includes court-ordered
    (PAD+ 3031)
                                                  D 152 Emergency Intervention (funeral,             severance) (PAM + 3118)
• Temporary Administration (PAT + 3019)             burial, rental) (PEI + 3104)
                                                                                                    D Ancillary action that is in this court
• Foreign Will Letters (dependent) PW1 +          • 1355 Custodial Account (887 + 3014)               because a trustee is a party (includes
    3043)
                                                  D 1351 Sale of Property of Minor (PSP + 3035)       court-ordered severance) (PTP + 3119)
 Guardianship /1301 Trust-Adult                    Guardianship 11301 Trust - Minor                  1102 Investigations & Chapter 48
D Guard'ship Adult Person only (PG1 + 3023)       • Guard'ship Minor Person only (PM1 + 3047)      • Court Initiated /1102 (PCI + 3028)
• Guard'ship Adult Estate only (PG2 + 3024)       • Guard'ship Minor Estate only (PM2 + 3049)      • Chapter 48 Protection (PEL+ 3122)
• Guard'ship Adult Per & Estate (PG3 + 3022)      • Guard'ship Minor Per & Estate (PM3 + 3025)                   All Other Cases
• Guard'ship Adult Temporary (PGT + 3027)         • Guard'ship Minor Temporary (PMT + 3105)        • Trust action not related to estate or
• 1301 or QIT Trust Adult (867+ 3016)             • 1301 Trust Minor (86M + 3106)                    guardianship (PBI + 3018) (if related to
                                                                                                        estate or guardianship, see "ancillary
• 1252 Appointment of Non-Resident                • 1252 Appointment of Non-Resident
                                                                                                        cases" above)
  Guardian - Adult (PNA + 3108)                     Guardian - Minor (PNM + 3107)
                                                                                                   D 1354 Receivership of Minor or
• 1353 Incapacitated Spouse; Community
                                                                                                     Incapacitated (PRM + 3120)
  Property (883 + 3015)
                                                                                                   • 1356 Contracts of Minors (PCM + ^2^^§r




Supplementary _Probate_Court_Cover_Sheet_01/22/2014                                                                                              JO
Case 1:15-cv-00841-RP Document 1-1 Filed 09/18/15 Page 18 of 18




                                        I, VELVA L. PRICE, District Clerk,
                                        Travis County, Texas, do hereby certify that this is
                                        a true and correct copy as same appears of
                                        record in my office. Witness my hand and sedof
                                        office on
                                                      VELVA L PRICE
                                                      DiSTOCT CLERK
                                        ^5^ By Deputy:
